Order Form (01/2005)
                       Case: 1:11-cv-08044 Document #: 7 Filed: 02/23/12 Page 1 of 1 PageID #:22

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge       Samuel Der-Yeghiayan        Sitting Judge if Other
        or Magistrate Judge                                    than Assigned Judge

   CASE NUMBER                          11 C 8044                         DATE                      2/23/2012
            CASE                                Michelle Speirs vs. Van Ru Credit Corporation
            TITLE

  DOCKET ENTRY TEXT

  Status hearing called. No one appeared on behalf of the Plaintiff, for the second time, on the Court’s noticed
  hearing. Counsel for Plaintiff having been warned on 02/16/12, the instant action is hereby ordered
  dismissed for want of prosecution pursuant to Local Rule 41.1. All pending dates and motions, if any, are
  stricken as moot. Civil case terminated.



                                                                                                             Docketing to mail notices.




                                                                                       Courtroom Deputy                 maw
                                                                                                 Initials:




11C8044 Michelle Speirs vs. Van Ru Credit Corporation                                                                       Page 1 of 1
